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                                   In the United States District Court
                                      Western District of Louisiana
                                          Shreveport Division


Kathleen Malloy,
                                                         Cause No. 5:16-cv-00458
                       Plaintiff
                                                         Judge Elizabeth E. Foote
v.
                                                         Magistrate -XGJHKaren L. Hayes
S3 Power Sports, LLC, et al.,
                   Defendants.                           JURY DEMAND


                                                 Order

           Considering the Stipulation of Dismissal filed by the parties:

           IT IS HEREBY ORDERED that all claims by Plaintiffs Kathleen Malloy in the above-

     styled and numbered cause are hereby dismissed, with prejudice, with each party to bear its

     own attorney fees and costs.


           SIGNED on the Ş day of , 20ŗŜ.




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